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ROGER JEWELL
316 N. Avenue A, #82 / v
Casa Grande, AZ 85122 _£FFLED ......,.LODGED
(520) 424-6253 __` nEcFivED a_¢_`_,o¢\n/
larogerO@yahoo.com
Plaintiff, Pro Se MAR 1 l 20'3
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UNITED STATES DISTRICT COURT
DISTRICT OF ARIZONA n ,V,, W,,i
CV-13-00522-PHX-SRB
ROGER JEWELL, an individual, ) CASE NO.
)
PlaintiH`, ) COMPLAINT:
)
vs. ) (1) ACCOUNT]NG;
) (2) RESCISSIoN;

FIGI’s, INC., a corporation CENTURY ) (3) BREACH oF CoNTRACT;
LlNK sALEs soLUTIoNs, 1NC., dba ) (4) DECLARATORY REL];EF;
QwEsT coMMUNICATIoNs, and ) (s) lNJUCTIVE RELIEF; AND
DoEs 1-20, inclusive ) (6) BREACH oF wARRANTY

)
)
Defendants. 1

LRSW
(AccoUN'rING AGAINST FIGI’s, lNc.)

l. Plaintiff ROGER .TEWELL is, and at all times herein mentioned was, an individual
residing in the City of Casa Grande, Arizona, within this judicial district

2. Defendant FIGI’S, INC., is, and at all times herein mentioned was, a corporation
authorized to conduct business in the State of Arizona and doing business within this
judicial district.

3. Defendant CENTURY LINK SALES SOLUTIONS, INC., is, and at all times herein

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mentioned was, a corporation authorized to conduct business in the State of Arizona and
doing business within this judicial district Said defendant is the successor corporation
formally dba QWEST COMMUNICATIONS.

4. Jurisdiction in this United States District Court is proper based on 15 U.S.C. §§ 1681,
et seq.

5. Plaintiff does not know the names and identities of Defendants sued herein as DOES
l-20, inclusive, and hereby sues said Defendants by such lictitious names Plaintiff will
seek to amend the complaint when the true names and capacities of said Defendants
become known to Plaintiff.

6. The written agreements between Plaintiff ROGER JEWELL and Defendants, and
each of them were executed in and were to be performed within this judicial district

7. ln doing the things alleged herein, each of the Defendants was acting as the agent,
servant, or employee of the other defendants and acting within the course of such agency,
servitude, or employment when the acts were committed

8. ln or about the year 2004, Plaintiff ordered products from defendant FIGI’S, INC.
based on said defendant’s “Satisfaction Guaranteed” policy.

9. Plaintiff was not satisfied with the products ordered from Defendant FIGI’S, INC.
and Plaintiff made his dissatisfaction known to said defendant

10. Nevertheless, Defendant FIGI’S, INC. reported to the three major credit reporting
agencies that Plaintiff allegedly owed a debt to said defendant

ll. Plaintiff has, as a proximate and actual result of the actions of said defendant,

suffered damages to his credit standing and general damages in the amount of

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$50,000.00.

SECOND CAUSE OF ACTION
(ACCOUNTING AGAINST QWEST-CENTURY LINK SALES SOLUTIONS, INC.)

12. Plaintiff hereby refers to and incorporates by this reference, each and every allegation
contained in paragraphs l through ll, inclusive, of this Complaint as though lillly set
forth.

13. ln or about the year 2004, Plaintiff used defendant CENTURY LINK SALES
SOLU'I'IONS, lNC.’s QWEST telephone service

l4. In or about the year 2005, Plaintiff terminated telephone service with QWEST.

15. At said time and place, after termination of services, said defendant continued to bill
Plaintifl` and said defendant alleged that a balance was due from Plaintiif Under protest,
Plaintiff paid the bill.

16. Defendant CENTURY LINK SALES SOLUTIONS, INC. through QWEST reported
the account to the three major credit reporting bureaus causing great harm to Plaintif}" s
creditworthiness

17 . Subsequently, Plaintiff again used the QWEST services Again, when services were
terminated by Plaintiff, Defendant CENTURY LINK SALES SOLUTIONS, INC.
through QWEST alleged that additional costs were owed by Plaintiff. This time, Plaintiff
refused to pay the additional charges

18. As an actual and proximate result of Defendant CENTURY LINK SALES
SOLU'I`IONS, INC. placing derogatory credit information on Plaintifl’s credit reports
with the three major credit reporting agencies, Plaintiff continues to suffer emotional
distress and economic damages in the amount of $50,000.00.

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l9. Plaintitf is informed and believes and on such information and belief alleges that the
accounting of his accounts with Defendant CENTURY LINK SALES SOLUTIONS,
INC. is inaccurate and that no debt is owed to said Defendant

20. An accurate billing would reflect that Plaintiff owes nothing to said defendant now
and that the previous paid account also had been subject to improper accounting by said
defendant

21. An accounting is requested from this Court to determine the amounts, if any, that are
owed, if any,

22, If an accounting is not ordered by this Court, Plaintiff will continue to suffer
economic damages and emotional distress in terms of general damages in the amount of
$50,000.00.

TlIIRD CAUSE OF ACTION
(RESCISSION AGAINST FIGI’S, INC.)

23. Plaintiff hereby refers to and incorporates by this reference, each and every allegation
contained in paragraphs l through 22, inclusive, of this Complaint as though fully set
forth.

24. Plaintiff ROGER JEWELL was dissatisfied with defendant FIGI’S, lNC.’s

product order and expressed his dissatisfaction to FIGI’S, INC. However, said defendant
refuses to honor the “Satisfaction Guaranteed” promise it made and has informed the
three credit reporting agencies that Plaintiff allegedly owes the approximate amount of
$140.00 to defendant Had defendant not represented that its products were backed by a
satisfaction guaranteed policy, Plaintiff would not have placed his product order with said

defendant

 

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25. Plaintiff is entitled to rescind the agreement with FIGI’S, INC. due to said
Defendant’s “Satisfaction Guaranteed” policy. A copy of said Defendant’s policy is
attached hereto as Exhibit “A” and incorporated herein by this reference

FOURTH CAUSE OF ACTION
(BREACH OF CONTRACT AGAINST FIGI’S, INC.)

26. Plaintiff hereby refers to and incorporates by this reference, each and every allegation
contained in paragraphs l through 25, inclusive, of this Complaint as though fully set
forth.
27. Plaintiff is entitled to rescind the agreement on the basis of the prior breach by
defendant FIGI’S, INC. by said defendant’s failure to honor it Satisfaction Guaranteed
policy.

W
(BREACH OF CONTRACT AGAINST QWEST-CENTURY LINK SALES
SOLUTIONS, INC.)
28. Plaintiff hereby refers to and incorporates by this reference, each and every allegation
contained in paragraphs l through 27, inclusive, of this Complaint as though fully set
forth,
29. Plaintiff is entitled to rescind the agreement on the basis of the prior breach by
defendant QWEST-CENTURY LINK SALES SOLUTIONS, INC. by providing

inaccurate billings to Plaintiff.

SIXTH CAUSE OF ACTION
(DECLARATORY RELIEF AGAINST FIGI’ S, INC.)

30, Plaintiff hereby refers to and incorporates by this reference, each and every allegation
contained in paragraphs l through 29, inclusive, of this Complaint as though fully set

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forth.
31. There is an actual dispute existing between the parties Defendants assert that a debt
is owed to them while Plaintiff asserts that no such debt is owed.
32. Plaintiff is entitled to a judicial determination to settle the disputed matter and
Plaintiff will suffer irreparable harm if such a declaration is not made at this time because
the alleged debts are contained in Plaintiff s credit reports with the three major credit
reporting agencies

SEVENTH CAUSE OF ACTION
(DECLARATORY REL[EF AGAINST QWEST-CENTURY LINK SALES
SOLUTIONS, INC.)
33. Plaintiff hereby refers to and incorporates by this reference, each and every allegation
contained in paragraphs l through 32, inclusive, of this Complaint as though fully set
forth.
34. There are two actual disputes existing between the parties concerning an alleged debt
presently owed to Defendant One account alleges that Plaintiff previously owed a debt to
Defendant that was ultimately paid by Plaintiff under protest This alleged debt is
reported on Plaintiff s credit reports with the three major credit reporting bureaus
Additionally, Defendants assert that a debt is presently owed to them while Plaintiff
asserts that no such debt is owed.
35. Plaintiff is entitled to a judicial determination to settle the disputed matters and
Plaintiff will suffer irreparable harm if such a declaration is not made at this time because

the alleged debts are contained in Plaintiff s credit reports with the three major credit

reporting agencies

 

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EIGHTH CAUSE OF ACTIQN
(INJUNCTIVE RELIEF AGAINST FIGI’S, INC.)

36. Plaintiff hereby refers to and incorporates by this reference, each and every allegation
contained in paragraphs l through 35, inclusive, of this Complaint as though fully set
forth.
37. Plaintiff is entitled to an injunction prohibiting Defendants, and each of them, &om
continuing to report the alleged debts to the three major credit reporting bureaus and
Plaintiff will suffer irreparable harm if such an injunction is not issued at this time
because the alleged debts are contained in Plaintiff’ s credit reports with the three major
credit reporting agencies

NINTH CAUSE OF ACTION
(INJUNCTIVE RELIEF AGAINST QWEST-CENTURY LINK SALES SOLUTIONS,
INC.)
38, Plaintiff hereby refers to and incorporates by this reference, each and every allegation
contained in paragraphs l through 37, inclusive, of this Complaint as though fully set
forth.
39. Plaintiff is entitled to an injunction prohibiting Defendants, and each of them, from
continuing to report the alleged debts to the three major credit reporting bureaus and
Plaintiff will suffer irreparable harm if such an injunction is not issued at this time
because the alleged debts are contained in Plaintiff’s credit reports with the three major

credit reporting agencies

TENTH CAUSE OF AQTION
(BREACH OF WARRANTY AGAINST FIGI’S, INC.)

40. Plaintiff hereby refers to and incorporates by this reference, each and every allegation

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contained in paragraphs l through 39, inclusive, of this Complaint as though fully set
forth.
4l. Plaintiff is entitled to rescind the agreement on the basis of the prior breach by
defendant FIGI’S, INC.

WHEREFORE, Plaintiff hereby prays for judgment against Defendants, and each
of them, as follows:

AS TO THE FIRST CAUSE OF ACTION
(ACCOUNTING AGAINST FIGI’S, INC.)

(l) An accurate accounting of the debt(s) allegedly owed to Defendant;

AS TO THE SECOND CAUSE OF ACTION
(ACCOUN'I'ING AGAINST QWEST-CENTURY LINK)

(l) An accurate accounting of the debt(s) allegedly owed to Defendant;

A§ TQ THE THIRD CAUSE OF ACTION
(RESCISSION AGAINST FIGI’S, INC.)

(l) A judgment in favor of Plaintiff allowing rescission of the alleged agreement
with Defendant(s);

AS TO 'I'HE FOURTH CAUSE OF ACTION
(BREACH OF CONTRACT AGAINST FIGI’S, INC.)

(l) A judgment in favor of Plaintiff allowing rescission of the alleged agreement
with Defendant(s);

AS TO THE FIFTH CAUSE ()F ACTION
(BREACH OF CONTRACT AGAINST QWEST-CENTURY LINK)

(l) A judgment in favor of Plaintiff allowing rescission of the alleged agreement

with Defendant(s);

 

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AS TO THE SIXTH CAUSE OF AC lloN
(DECLARATORY RELIEF AGAINST FIGI’S, INC.)

(l) A judicial declaration deciding the respective rights and duties of the parties;

A§ TO THE SEVENTH QAUSE OF ACTION
(DECLARATORY RELIEF AGAINST QWEST-CENTURY LINK)

(l) A judicial declaration deciding the respective rights and duties of the parties;

AS TO THE EIGHTH CAUSE OF ACTION
(INJUNCTIVE RELIEF AGAINST FIGI’S, INC.)

(l) An injunction prohibiting Defendant(s), and each of them, from continuing to
report the alleged debt to the three major credit reporting bureaus;

(2) An injunction requiring Defendant(s), and each of them, to contact the three
credit reporting bureaus and request removal of the alleged debt(s) from Plaintiff’ s credit
reports

AS TO THE NINTH CAUSE OF ACTION
(INJUNCTIVE RELIEF AGAINST QWEST-CENTURY LINK)

(l) An injunction prohibiting Defendant(s), and each of them, from continuing to
report the alleged debt to the three major credit reporting bureaus;

(2) An injunction requiring Defendant(s), and each of them, to contact the three
credit reporting bureaus and request removal of the alleged debt(s) from Plaintiff’ s credit

reports

AS TO 'I`HE TENTH CAUSE OF ACTION
(BREACH OF WARRANTY AGAINST FIGI’S, INC.)

(l) A judgment in favor of Plaintiff allowing rescission of the alleged agreement

with Defendant(s);

A§ TO ALL CAUSE OF ACTIONS
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(l) Costs of suit incurred herein;
(2) Attorney’s fees according to proof, if any; and

(3) For such other additional relief as the Court deems just and proper.

 

March 5, 2013

 

VERIFICATI()N
I, ROGER JEWELL, hereby declare under penalty of perjury, that the foregoing is true
and correct, except as to matters alleged on information and belief, and on matters alleged on

belief, Plaintiff believes the allegations are true and correct

 
 
   

y March 5, 2013
Ro r Jewell

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